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AO 440 (an. 06/ 12) Summons in a Civil Action (Page 2)
Civil Action No. 1:18~cv-05628

PROOF OF SERVICE `_ _
(leis section should not be filed with the court unless required by I;`-é_ .; ~

 

= .(¢))

This summons for (name oflna‘iv dual`é}ndzirle, ifany) M¢w',vo j(§%f€ 740 f/-,¢](€ d d ( `
wasrecelved bymeon(da/e) /@ /7 z_¢/g . /7§’,L/z /¢7€`1'»‘"* ST~¢L,ET/ F:LM.H,M¢,-,, /Vy //3¢[

ij I personally served the summons on the individual at gzlace)

 

on (da¢e) ; or

 

 

fJ I 1eftthe summons at the individual’s residence or usual place of abode with (nama)

-__...____…..~___,

,a person of suitable age and discretion who resides there

 

 

 

on (d¢ue) n , and mailed a copy to the individual’s last known address; or
>8( `I served the summons on (name pfindfvidualj /L/),_{1 fm //'_6 _Q._ 407 f -(£ who is
designated by law to accept service of process on behalfof (name afarganiza¢/on) WN M%Mi_w
74 f%¢?(~e 5 5 C' . on(dwe)j»?~¢f 0 /,y
111 Ircturned the summons unexecuted because /‘2' " 3 5 / /t;§ ;0r

 

D ther ¢spacljfv):

My fees are $ for travel and $ for services, for a total of $ 000

I declare under penalty of perjury that this information is true.

Daf<:: Lv __:z:z ‘1.-_€./_§ /:€ 5 //W

Server s signature

%'-¢/ C [/,1/€// jjoch few/64

Prinlea' name and rifle

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Server s addrer
Additional information regarding attempted service, etc: paul C \/inelti

Drocese Serve>r l/WX€CD

m/No: /02=/,13»<2/5'

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AO 440 (Rev. 06/12) Summons in a Civil Action ‘

UNITED STATES DISTRICT CoURT

for the
Eastern District of New York

CORY HAl\/|N|OCK

 

Plaintijj”(s)

V~ Civil Action No. 1218-cv-05628

MOV|NG STATE TO STATE LLC and DOES 1-10

 

\./\./\./\/VV\/\./\/V\./\/

Defendam(s)
SUMMONS IN A CIVIL ACTION

TOI (Defendant’s name and address) I\/|OVing Stafe 10 State LLC
75-42 198th Street
Flushing, New York 11366

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed'.`j'Rj":Civf
l?`f§§l§f§ (a)(Z) or (3) ~_ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attoniey,
whose name and address are: T. Bryce Jones

Jones Law Firm P.C.
450 7th Avenue, Suite 1408
New York, NY 10123

lf you fail to respond, judgment by default Will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

DOUGLAS C. PALMER
cLERK 0F CO URT

Date: w MAM g .

 

Sigvialure of Clerk or Deputy Cle)'k

 

